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To Whom it may concern,
12-31-2018

On December 16th 2018 | was passing medication on 6 charlie | entered the pod
passing the top tier first then started the bottom | approached cell 16 where 2
females exited the cell at approximately 12:34 pm 1 white female who told me
that she was detoxing from methadone and she informed me she was not
recieving and treatment for the detox because she did not inform intake when
she was booked in| had her fill out a sick call for me to take to the charge nurse to
maybe get her onsome treatment. 1 white female by the name of Sindi Spray
leaned up against the wall then proceeded to slide down the wall to a sitting
position onthe floor. | asked her for her name and asked her If she was OK and
she told me my stomach hurts bad | noticed in her medication list she was
recieving treatment for detox, | then asked if she was still detoxing and she told
me yes | asked what she was detoxing from she told me heroin she complained
her legs werent working properly | then leaned down gave her the medication
that was ordered for her and | told her | would report it to the charge nurse and |
advised her to try to relax until | talked to the charge nurse to get her some help
and | helped her back into the cell | grabbed her food tray and handed it in to her
cell mate. | left her cell and | finished the couple cells medications after cell 16
and | left the pod and went directly to the clinic arriving there approximately 1:02
pm. | then took my medication cart to the back where we are to park them as we
cannot leave them in the hall. | then Approached Charge Nurse Shirley Reisch in
clinic 1 she had a patient in there at the time feeling this was urgent | interupted
her and | gave her the sick call for the first female that exited the cell and | also
informed her of Sindi Spray's condition and | told her | felt it was more than detox
due to her legs not working properly and | also told her | had helped Mrs Spray
back into the cell and she may wanna have her pulled to check her out or maybe
go down there and check her if she couldnt have her pulled up to the clinic she
then informed me she seen Mrs Spray at 9 am that morning for a breathing

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treatment and she then told me " She is fine there is nothing wrong with her ". |
said umm Ok are you sure? She then said yes walking off from me she walked out
of clinic 1 into the next room where her desk was | then went to lunch for 30
minutes | came back finished my work and tasks for the day and left about 3pm. |
was off the next day and recieved the breaking news alert on my cell phone and
the TV at the same time they said her name and showed her picture | started
crying and ! called the Director of nursing Bonnie Gergens on her cell phone from
cell phone | then informed Bonnie that | had went directly to Shirley Reisch The
day before and informed her of Mrs Spray's condition and | told her Shirley Reisch
told me "She is fine there is nothing wrong with her" | was so upset Bonnie Then
asked " Did you do what you were suppose to do and tell somebody? " | said yes |
reported to her. She then told me "Well OK dont worry about it let somebody else
deal with it" | talked with her about this for several minutes as | was very
emotional about this, Bonnie did not notify the HSA of our conversation that
day on the phone as | found out a couple days later. If anything else is needed
from me please feel free to give me a call at 405-760-8502.

Thank you,

Ginger Vann, ACMA

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